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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                        )
In re:                                  )
                                        )                                   Chapter 11
                                   1
HIGHLAND CAPITAL MANAGEMENT, L.P.,      )
                                        )                                   Case No. 19-34054 (SGJ)
              Reorganized Debtor.       )
                                        )
                                        )
HIGHLAND CAPITAL MANAGEMENT, L.P.       )
                                        )
                   Plaintiff,           )
vs.                                     )                                   Adv. Pro. No. 21-03006 (SGJ)
                                        )
HIGHLAND CAPITAL MANAGEMENT SERVICES, )
INC., JAMES DONDERO, NANCY DONDERO, AND )
THE DUGABOY INVESTMENT TRUST            )
                                        )
                   Defendants.          )
                                        )

                                      CERTIFICATE OF SERVICE

      I, Aljaira Duarte, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Reorganized Debtor in the above-captioned
case.

        On October 4, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:




                                          (Continued on Next Page)




1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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   •   Plaintiff's Notice of Rule 30(b)(6) Deposition to Highland Capital Management
       Services, Inc. [Docket No. 84]


Dated: October 7, 2021
                                                /s/ Aljaira Duarte
                                                Aljaira Duarte
                                                KCC
                                                222 N Pacific Coast Highway, Suite 300
                                                El Segundo, CA 90245




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                             EXHIBIT A
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                                                                   Exhibit A
                                                             Adversary Service List
                                                            Served via Electronic Mail


             Description                     CreditorName                     CreditorNoticeName                               Email
                                                                                                             john@bondsellis.com;
                                                                                                             john.wilson@bondsellis.com;
                                                                       John Y. Bonds, III, John T. Wilson,   bryan.assink@bondsellis.com;
                                      Bonds Ellis Eppich Schafer       IV, Bryan C. Assink, Clay M.          clay.taylor@bondsellis.com;
 Counsel for James Dondero            Jones LLP                        Taylor, William R. Howell, Jr.        william.howell@bondsellis.com
 Financial Advisor to Official                                         Earnestiena Cheng, Daniel H           Earnestiena.Cheng@fticonsulting.com;
 Committee of Unsecured Creditors     FTI Consulting                   O'Brien                               Daniel.H.O'Brien@fticonsulting.com
 Counsel for Nancy Dondero            Greenberg Traurig, LLP           Daniel P. Elms                        elmsd@gtlaw.com
                                                                       Melissa S. Hayward, Zachery Z.        MHayward@HaywardFirm.com;
 Counsel for the Debtor               Hayward & Associates PLLC        Annable                               ZAnnable@HaywardFirm.com
                                                                                                             ddraper@hellerdraper.com;
 Counsel for the Dugaboy Investment                                    Douglas S. Draper, Leslie A.          lcollins@hellerdraper.com;
 Trust and Get Good Trust             Heller, Draper & Horn, L.L.C.    Collins, Greta M. Brouphy             gbrouphy@hellerdraper.com
 Counsel for UBS Securities LLC and                                                                          andrew.clubok@lw.com;
 UBS AG London Branch                 Latham & Watkins LLP             Andrew Clubok, Sarah Tomkowiak        sarah.tomkowiak@lw.com
 Counsel for UBS Securities LLC and                                                                          asif.attarwala@lw.com;
 UBS AG London Branch                 Latham & Watkins LLP             Asif Attarwala, Kathryn K. George     Kathryn.George@lw.com
 Counsel for UBS Securities LLC and                                                                          jeff.bjork@lw.com;
 UBS AG London Branch                 Latham & Watkins LLP             Jeffrey E. Bjork, Kimberly A. Posin   kim.posin@lw.com
 Counsel for UBS Securities LLC and                                                                          Zachary.Proulx@lw.com;
 UBS AG London Branch                 Latham & Watkins LLP             Zachary F. Proulx, Jamie Wine         Jamie.Wine@lw.com
                                                                                                             mclemente@sidley.com;
                                                                       Matthew Clemente, Alyssa Russell,     alyssa.russell@sidley.com;
 Counsel for Official Committee of                                     Elliot A. Bromagen, Dennis M.         ebromagen@sidley.com;
 Unsecured Creditors                  Sidley Austin LLP                Twomey                                dtwomey@sidley.com
                                                                                                             preid@sidley.com;
                                                                       Penny P. Reid, Paige Holden           pmontgomery@sidley.com;
 Counsel for Official Committee of                                     Montgomery, Juliana Hoffman,          jhoffman@sidley.com;
 Unsecured Creditors                  Sidley Austin LLP                Chandler M. Rognes                    crognes@sidley.com
 Counsel for Highland Capital
 Management Services, Inc. and                                         Deborah Deitsch-Perez, Michael P. deborah.deitschperez@stinson.com;
 Nancy Dondero                        Stinson LLP                      Aigen                             michael.aigen@stinson.com
                                                                                                         brant.martin@wickphillips.com;
 Counsel for Highland Capital         Wick Phillips Gould & Martin,    Brant C. Martin, Jason M. Rudd,   jason.rudd@wickphillips.com;
 Management Services, Inc.            LLP                              Lauren K. Drawhorn                lauren.drawhorn@wickphillips.com




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                             EXHIBIT B
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                                                                           Exhibit B
                                                                     Adversary Service List
                                                                   Served via First Class Mail

             Description                    CreditorName                  CreditorNoticeName                     Address1               City      State    Zip
                                                                  John Y. Bonds, III, John T. Wilson,
                                    Bonds Ellis Eppich Schafer    IV, Bryan C. Assink, Clay M. Taylor, 420 Throckmorton Street,
 Counsel for James Dondero          Jones LLP                     William R. Howell, Jr.               Suite 1000                   Fort Worth    TX      76102
                                                                                                       2200 Ross Avenue, Suite
 Counsel for Nancy Dondero          Greenberg Traurig, LLP        Daniel P. Elms                       5200                         Dallas        TX      75201
 Counsel for the Dugaboy Investment                               Douglas S. Draper, Leslie A.         650 Poydras Street, Suite
 Trust and Get Good Trust           Heller, Draper & Horn, L.L.C. Collins, Greta M. Brouphy            2500                         New Orleans LA        70130
 Counsel for UBS Securities LLC and                                                                    555 Eleventh Street, NW,
 UBS AG London Branch               Latham & Watkins LLP          Andrew Clubok, Sarah Tomkowiak Suite 1000                         Washington    DC      20004
 Counsel for UBS Securities LLC and                                                                    330 North Wabash Avenue,
 UBS AG London Branch               Latham & Watkins LLP          Asif Attarwala, Kathryn K. George Ste. 2800                       Chicago       IL      60611
 Counsel for UBS Securities LLC and
 UBS AG London Branch               Latham & Watkins LLP          Jeffrey E. Bjork, Kimberly A. Posin 355 S. Grand Ave., Ste. 100   Los Angeles   CA      90071
 Counsel for UBS Securities LLC and                                                                    1271 Avenue of the
 UBS AG London Branch               Latham & Watkins LLP          Zachary F. Proulx, Jamie Wine        Americas                     New York      NY      10020
 Counsel for Highland Capital
 Management Services, Inc. and                                    Deborah Deitsch-Perez, Michael P. 3102 Oak Lawn Avenue,
 Nancy Dondero                      Stinson LLP                   Aigen                                Suite 777                    Dallas        TX      75219
 Counsel for Highland Capital       Wick Phillips Gould & Martin, Brant C. Martin, Jason M. Rudd,      3131 McKinney Avenue,
 Management Services, Inc.          LLP                           Lauren K. Drawhorn                   Suite 100                    Dallas        TX      75204




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